Case 3:16-md-02738-MAS-RLS   Document 32683   Filed 06/03/24   Page 1 of 22 PageID:
                                   185252




                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY




   IN RE: JOHNSON & JOHNSON TALCUM                No. 3:16-md-02738-MAS-RLS
   POWER PRODUCTS MARKETING, SALES
   PRACTICES, AND PRODUCTS LIABILITY
   LITIGATION




     DEFENDANTS’ OPPOSITION TO THE PLAINTIFF STEERING
   COMMITTEE’S MOTION TO QUASH OR FOR PROTECTIVE ORDER
        REGARDING SUBPOENA DIRECTED AT PAUL HESS
Case 3:16-md-02738-MAS-RLS                   Document 32683             Filed 06/03/24          Page 2 of 22 PageID:
                                                   185253



                                          TABLE OF CONTENTS
                                                                                                              Page(s)

  TABLE OF AUTHORITIES .................................................................................... ii
  INTRODUCTION .....................................................................................................1
  BACKGROUND .......................................................................................................3
  ARGUMENT .............................................................................................................9
           I.       A Deposition Of Mr. Hess Is Relevant And Proportional To
                    The Needs Of The Case. .......................................................................9
           II.      Rule 26(b)(4)(D) Is No Bar To A Deposition Of Mr. Hess. ...............12
                    A.       The “Exceptional Circumstances” Standard Does Not
                             Apply.                                            13
                    B.       Even If The “Exceptional Circumstances” Standard
                             Applied, It Would Be Met Here.                                                 16
           III.     The PSC’s Privilege Objections Are Moot. ........................................18
  CONCLUSION ........................................................................................................19




                                                             i
Case 3:16-md-02738-MAS-RLS                  Document 32683              Filed 06/03/24         Page 3 of 22 PageID:
                                                  185254



                                       TABLE OF AUTHORITIES

  Case                                                                                                       Page(s)
  Bank Brussels Lambert v. Chase Manhattan Bank, N.A.,
    175 F.R.D. 34 (S.D.N.Y. 1997) ..........................................................................17

  Derrickson v. Cir. City Stores, Inc.,
    No. DKC 95-3296, 1999 WL 1456538 (D. Md. Mar. 19, 1999). ....13, 14, 16, 17
  Dura Automotive Sys. Of Indiana, Inc. v. CTS Corp.,
    285 F. 3d 609 (7th Cir. 2002) .............................................................................15

  Hartford Fire Ins. Co. v. Pure Air on the Lake Ltd. P’ship,
    154 F.R.D. 202 (N.D. Ind. 1993) ..................................................................16, 17
  Herman v. Marine Midland Bank,
    207 F.R.D 26 (W.D.N.Y. 2002) .........................................................................14

  Kaisha v. Lotte Int’l Am. Corp.,
    No. 15-cv-05477, 2019 WL 13258468 (D.N.J. Jan. 23, 2019) ..........................15

  Lowery v. Cir. City Stores, Inc.,
    158 F.3d 742, (4th Cir. 1998), cert. granted, judgment vacated, 527
    U.S. 1031 (1999). ..........................................................................................15, 16
  Oracle Am., Inc., v. Google, Inc.,
    No. 10-cv-3561 ...................................................................................................15

  TCL Commc’ns Tech. Holdings Ltd. v. Telefonaktenbologet LM
    Ericsson,
    No. SACV-14-00341, 2016 WL 6662727 (C.D. Cal. July 7, 2016). ................. 13

  Vopak N. Am. Inc.,
    No. 16-cv-06526, 2018 WL 10561115 (C.D. Cal. Sept. 14, 2018).................... 15

  Other Authorities

  Fed. R. Civ. P. 26(b) .........................................................................................passim




                                                           ii
Case 3:16-md-02738-MAS-RLS       Document 32683    Filed 06/03/24   Page 4 of 22 PageID:
                                       185255



        Defendants Johnson & Johnson and LLT Management LLC submit this

  opposition to the Plaintiffs’ Steering Committee’s (“PSC”) Motion To Quash Or For

  Protective Order Regarding Subpoena Directed At Paul Hess (ECF No. 32195).

                                  INTRODUCTION

        Dr. William Longo is Plaintiffs’ primary testing expert. He has tested bottles

  of Johnson’s Baby Powder and claims to find asbestos. In the first round of Rule 702

  motions adjudicated in this MDL, the Court ruled that Dr. Longo’s polarized light

  microscopy (“PLM”) testing was not reliable. In response, Dr. Longo began using a

  new PLM method and now claims to find “chrysotile” asbestos in nearly 100% of

  bottles of cosmetic talc he tests—a type of asbestos he previously had never found

  in any of his prior testing.

        Most often, however, it is not Dr. Longo who actually conducts this new, 2-to-

  6-hour PLM analysis. Rather, an analyst in his lab and the subject of this motion,

  Paul Hess, is the one who actually looks through the microscope. Under the PLM

  methodology at issue, correctly identifying the mineral type of a particle is

  dependent on accurately identifying the color that the particle appears under the

  microscope when coated in a particular oil. In the majority of instances, it is Mr.

  Hess who is making the critical color determinations that govern the result of the

  analysis.




                                           1
Case 3:16-md-02738-MAS-RLS       Document 32683       Filed 06/03/24   Page 5 of 22 PageID:
                                       185256



         Importantly, Dr. Longo himself has testified that he cannot independently

  verify Mr. Hess’s conclusions based on the images provided in his own report

  (images taken by Mr. Hess). Dr. Longo has repeatedly dodged questions regarding

  the conclusions and methods from his report by claiming he would have to be

  looking at the particle through the microscope in order to answer the question. Just

  last week, Dr. Longo offered similar testimony at a New Jersey state court hearing

  on the admissibility of his opinions: “[Q.] [I]f you’re claiming to see some sort of

  edge effect here that you’re basing your purple color on but it’s an artifact, then your

  entire analysis is wrong? A. No, this analysis is not wrong. This is chrysotile and I

  would need to be looking at the microscope here. I stand by this. It’s not wrong.”

  Ex. A, Longo Clark Hr’g (Vol. I) 118:20-119:3 (emphasis added).

         In other words, Dr. Longo is saying he cannot tell if his “entire analysis is

  wrong” without looking through the microscope himself. As the cross-examination

  on the reliability of his testing continued, Dr. Longo returned time and again to this

  tactic. See infra n. 4.1

         But if it was not Dr. Longo but Mr. Hess who looked at a particular particle

  through the microscope and made a determination concerning its identification, then

  it is Mr. Hess who should answer questions concerning the findings. Again, such a

  1
   Thus, the J&J Defendants also have moved to inspect the lab and microscope at
  MAS, and Dr. Longo as he works, so these pending questions concerning his
  methodology can finally be asked and answered.

                                             2
Case 3:16-md-02738-MAS-RLS       Document 32683      Filed 06/03/24   Page 6 of 22 PageID:
                                       185257



  conclusion is entirely consistent with Dr. Longo’s own view of the world. Dr. Longo

  has testified that correctly identifying asbestos through PLM is a judgment call based

  on years of experience, and that it is Mr. Hess, not Dr. Longo, who has the true

  expertise. Dr. Longo has never taken a course in using PLM to detect asbestos and

  has testified: “I don’t do PLM analysis.” Ex. B, Longo Young Dep. 86:5-6. Mr. Hess,

  by contrast, has been doing PLM analysis for approximately 40 years.

        In short: (1) Mr. Hess is the one with the relevant PLM expertise that goes to

  the very heart of the methodology; (2) it is Mr. Hess who most often conducts the

  analysis that leads to Dr. Longo’s opinion; and (3) Dr. Longo has stated time and

  again that he cannot independently verify Mr. Hess’s conclusions. Under these

  circumstances, Defendants’ request to depose Mr. Hess is not only entirely

  appropriate, but critical to examining Dr. Longo’s methodology on a Daubert

  challenge.2

                                   BACKGROUND

  Dr. Longo and MAS

        Plaintiffs’ expert Dr. Longo is the President and a 75% owner of his lab, MAS.

  For years, MAS never found a type of asbestos known as chrysotile in cosmetic talc.



  2
    In fact, a state court previously ordered a deposition of Mr. Hess for these very
  reasons, though the case resolved before that deposition could take place. Ex. G,
  Material Analytical Services, LLC v. Johnson & Johnson, et al., Civ. No. 23106785
  (Sup. Ct. Ga. Oct. 20, 2023) Order at 2.

                                            3
Case 3:16-md-02738-MAS-RLS        Document 32683      Filed 06/03/24    Page 7 of 22 PageID:
                                        185258



  See Ex. C, Longo Rimondi Tr. 140:14-141:8. MAS then began using a new PLM

  method—despite Dr. Longo previously testifying that “the PLM method is not

  appropriate to do an evaluation for these types of products,” i.e. talcum powder

  products. Ex. D, Longo Weirick Tr. 2921:25-28. Now MAS claims to find chrysotile

  using PLM in nearly 100% of cosmetic talc bottles it tests. Ex. E, Longo Forrest

  Dep. 138:9-18. Indeed, Dr. Longo says that “[a]ny bottle that was sold in North

  America that used a mine source for cosmetic talc in North America will have some

  level of asbestos in it.” Ex. F, Longo (Vol. III) Eagles Dep. 449:12-21.

  PLM Analysis

        The type of PLM analysis MAS is performing turns on accurately identifying

  the color the particle appears under the microscope after coating it in a particular oil.

  Ex. A, Longo Clark Hr’g 48:4-8; Ex. E, Longo Forrest Dep. 72:15-17, 75:23-76:9.

  The analyst matches the color they identify to a color chart, which is used to identify

  that color’s corresponding wavelength of light. Ex. A, Longo Clark Hr’g 48:9-18.

  Then the analyst matches the wavelength to a “refractive index” (or “RI”) value

  using a particular set of tables. Id. at 48:19-49:1. And then the RI value used to

  identify what mineral the particle is. The graphic below reflects the steps for this

  process for a reference standard for chrysotile asbestos from the International

  Standards Organization.




                                             4
Case 3:16-md-02738-MAS-RLS      Document 32683    Filed 06/03/24   Page 8 of 22 PageID:
                                      185259




  Id. at 48:14-18, 113:12-18.
        Because Mr. Hess records the RI values for the particles that he claims are

  chrysotile, this process can be reversed to determine the color he claimed to see

  under the microscope. For example, Mr. Hess reported the yellow particle below as

  having an RI value of 1.564, which corresponds to purple. Id. at 110:22-111:23.




                                          5
Case 3:16-md-02738-MAS-RLS       Document 32683       Filed 06/03/24   Page 9 of 22 PageID:
                                       185260



  See Ex. H, MAS Valadez Rpt. at 32.
  PLM Requires Specialized Expertise And The Judgment Of The Analyst

        Dr. Longo has testified that in order to identify asbestos in talc by PLM, there

  “has to be an analyst doing the PLM that has experience in looking at these types of

  materials, so a lot of years” because doing the analysis properly “just depends on the

  experience and time and individual doing it.” Ex. I, Longo Rimondi Dep. 125:11-13,

  124:20-21. In fact, he’s said an analyst “would have to have decades of experience.”

  Ex. J, Longo Reyes (Vol. II) Dep. 129:12-13. In Dr. Longo’s view, using a “a regular

  PLM setup with a PLM analyst that’s not experienced in looking at this, he may

  never find it.” Ex. K, Longo Zimmerman (Vol. II) Dep. 374:16-18.

        That’s because the ability to accurately identify the color of a particle—a key

  PLM step—is a “judgment that comes from years and years of experience.” Ex. E,

  Longo Forrest Dep. 73:11-13. Dr. Longo even believes that whether PLM analysis

  is “subjective depends on the analyst who’s performing the analysis.” Ex. L, Longo

  Streck Dep. 123:2-6; see also id at 123:14-15 (testifying that the level of subjectivity

  “just depends on your training and how much experience you’ve got.”).

  Dr. Longo Is Not A PLM Analyst.

        In 2018, Dr. Longo testified: “I haven’t done PLM in such a long time.” Ex.

  M, Longo Allen (Vol. I) Dep. 61:2-3. At least as of 2019, he had never “personally

  analyzed a [talc] sample for the presence of asbestos using PLM.” Ex. B, Longo

  Young Dep. 85:18-20. As he put it then, “I don’t do PLM analysis.” Id. at 86:5-6.

                                             6
Case 3:16-md-02738-MAS-RLS        Document 32683      Filed 06/03/24   Page 10 of 22
                                  PageID: 185261



When asked if he was “an expert in PLM,” Dr. Longo responded only: “I think I

know more than the average layperson.” Ex. N, Longo 2/5/2019 MDL Dep. 262:13-

15.

      Dr. Longo has not taken any courses on using PLM to detect asbestos. Id. at

261:9-13. He has not taken any classes in PLM dispersion staining, the specific

color-based PLM methodology that MAS claims to follow. Ex. O, Longo Lanzo

(Vol. II) Dep. 278:8-10. He describes himself as “self-taught” in PLM. Id. at 278:11-

13.

      Rather, Dr. Longo views himself as an “electron microscopy person”—also

referred to as “TEM” (transmission electron microscopy). Ex. P, Longo Zundel Dep.

182:20-24. He has historically “really considered [him]self a TEM analyst” because

he’s “done more TEM than anything.” Ex. A, Longo Clark Hr’g 18:8-11. That kind

of microscopic analysis “is not as complicated as PLM.” Ex. P, Longo Zundel Dep.

at 182:20-24. But Dr. Longo has refused to test Defendants’ talc for chrysotile by

TEM, even though using that type of microscope would make it “fairly simple to tell

whether or not you are, in fact, looking at chrysotile as opposed to talc”—rather than

relying on subtle color gradations. Ex. A, Longo Clark Hr’g 42:10-14; see also Ex.

Q, Longo Clark (Vol. II) Dep. 206:7-11.




                                          7
Case 3:16-md-02738-MAS-RLS        Document 32683      Filed 06/03/24   Page 11 of 22
                                  PageID: 185262



Dr. Longo Relies On Paul Hess For PLM Analysis.
      Paul Hess has a degree in geology. Ex. R, Longo Fong (Vol. II) Dep. 214:1.

He has been conducting PLM analysis for almost 40 years, and has worked at MAS

for 33 of them. Ex. S, Longo Krich Dep. 53:3-8. Mr. Hess was trained and took a

course in PLM at McCone Laboratories, which Dr. Longo has said was “literally the

best lab in the country back in the 1970’s and ‘80s.” Ex. T, Longo Hayes Tr. 181:6-

11. In fact, Mr. Hess was taught by the lab’s namesake, Walter McCrone, who “was

the best optical microscopist in the world” for his timeframe according to Dr. Longo.

Ex. U, Longo Von Salzen Dep. 148:13-18; see also Ex. S, Longo Krich Dep. 53:17-

22 (Walter McCrone taught course).

      Testing talc for chrysotile by PLM has been “really up to one person” at MAS:

Paul Hess. Ex. P, Longo Zundel Dep. 182:3-11. Every time MAS has reported

finding “chrysotile” by PLM in Defendants’ talc products, Mr. Hess has been the

analyst whose name appears on the analyst worksheets. See, e.g., Ex. H, MAS

Valadez Rpt. at 24 (“Analysis By: PH”).

      It can take Mr. Hess “anywhere from two to six hours” to analyze one sample

by PLM. Ex. V, Longo Weirick Dep. 21:18-21. Mr. Hess is the one “the one who’s

looking through the PLM microscope to make the determination of the particle’s

color.” Ex. L, Longo Streck Dep. 49:14-19. Mr. Hess is the one who makes “a

determination to match it to a refractive index.” Id. Sometimes those values are



                                          8
Case 3:16-md-02738-MAS-RLS          Document 32683      Filed 06/03/24   Page 12 of 22
                                    PageID: 185263



reported in a range rather than a specific number because “Mr. Hess thinks it’s more

accurate to do it that way.” Id. at 108:23-109:3. Mr. Hess is also the one who selects

which images make it into the report. Ex. W, Longo Alexander-Jones Dep. 134:24-

135:1.

         Dr. Longo has said that he will on infrequent occasions be called over to look

at a particle, but that Mr. Hess is the one “the person that [performs the analysis]

from start to finish.” Ex. A, Clark Hr’g (Vol. I) 44:10-20; see also Ex. B, Longo

Young Dep. 86:21-86:6 (Dr. Longo admits he “periodically will be asked by one of

the analysts to take a look at this, what do you think”).

         In short, Mr. Hess is the one “identifying the particles” by PLM. Ex. W, Longo

Alexander-Jones Dep. 135:3-8. And the slides with the talc samples that Mr. Hess

analyzed are discarded shortly afterward because “they don’t last within a couple of

weeks.” Ex. L, Longo Streck Dep. 53:4-13.

                                     ARGUMENT

I.       A Deposition Of Mr. Hess Is Relevant And Proportional To The Needs
         Of The Case.

         There cannot be any genuine dispute that a deposition of Mr. Hess is relevant.

Mr. Hess’s analysis is not some ancillary issue—whether Defendants’ talc contains

asbestos is at the heart of the case. And Mr. Hess is the one looking down the




                                            9
Case 3:16-md-02738-MAS-RLS          Document 32683       Filed 06/03/24    Page 13 of 22
                                    PageID: 185264



microscope and claiming to find chrysotile asbestos in nearly 100% of Defendants’

talc products. 3

       A deposition of Mr. Hess is also proportional to the needs of the case. First,

Dr. Longo has repeatedly avoided questions regarding MAS’s PLM testing

methodology on the ground that he would need to be looking at the particle in the

microscope. For example, when asked to identify whether a particle in his report is

talc or chrysotile asbestos, Dr. Longo testified, “I’d have to be looking in the

microscope at it to tell you what that is” and then said again: “I’d have to be looking

in the PLM scope to make a guess.” Ex. X, Longo Valadez Dep. 55:17-56:14.4 But



3
  Whatever “higher standard of relevance” (Mot. 5) that may need to normally be
shown for discovery directed at third parties does not apply here where Mr. Hess is
not a stranger to the litigation. His work forms the basis for Dr. Longo’s chrysotile
testing. In any event, Mr. Hess’s work meets any standard of relevance because his
work claiming to find chrysotile in Defendants’ products goes to the heart of the
case.
4
  See also, e.g. id. at 56:15-18 (“I’d have to be looking in the microscope to make
any decision on what that might be.”); id. at 61:5-62:3 (“I’d have to be under the
microscope to look at it”); id. at 64:13-20 (“I’d have to be sitting at the PLM
scope.”); id. at 67:2-17 (“I’m not looking in a microscope. I can’t answer it anymore
and help you out here.”); id. at 78:13-79:9 (“In order for me to do that, I would have
to be sitting at the microscope, in focus, out of focus, and look at that.”); id. at 39:17-
40:14 (“I’d need to be looking in the microscope.”); Ex. AA, Longo Eagles (Vol. II)
Dep. 257:8-9 (“I’d have to focus in on it to see if we -- you know, the focus is off”);
Ex. A, Longo Clark Hr’g 113:25-114:3 (“And you have to be looking under the
microscope”); id. at 117:2-4 (“I’m not sitting at the microscope and this has been
copied a few times, so it’s kind of hard to debate you on it.”); id. at 119:1-2 (“I would
need to be looking at the microscope here.”); Ex. AB, Longo Clark Hr’g (Vol. II)
290:2-8 (“I'd have to be on the microscope.”).

                                            10
Case 3:16-md-02738-MAS-RLS        Document 32683      Filed 06/03/24   Page 14 of 22
                                  PageID: 185265



Dr. Longo is generally not the one looking through the microscope at these

particles—Mr. Hess is. If looking down the microscope is necessary to explain the

basis for MAS’s findings, then Defendants are entitled to depose the person who

actually did that.

      Second, Mr. Hess is the one with the real PLM expertise, not Dr. Longo. Mr.

Hess has approximately 40 years of PLM experience and was trained by the world’s

foremost expert in optical microscopy. Dr. Longo by contrast is “self-taught,” had

not done PLM work in a “long time” and had never “personally analyzed a [talc]

sample for the presence of asbestos using PLM” as of 2019. Ex. O, Longo Lanzo

(Vol. II) Dep. 278:11-13; Ex. M, Longo Allen (Vol. I) Dep. 61:2-3; Ex. B, Longo

Young Dep. 85:18-20. Mr. Hess is even the one who came up with the idea of using

a reference sample for a unique form of chrysotile which Dr. Longo has claimed

unlocked MAS’s ability to identify chrysotile in talc. Ex. Y, Longo Powers Dep.

75:24-76:3; Ex. Z, Longo Weiss Dep. at 22:7-15; Ex. A, Longo Clark Hr’g 36:10-

15, 159:8-16, 160:1-8.

      Finally, Mr. Hess is the one making all the key decisions. He’s the one

determining the particle’s color and matching it to its corresponding RI value—the

critical steps in the analysis. Ex. L, Longo Streck Dep. 49:14-19. As part of that, he

is the one choosing what area of the particle to use for the color match. And Dr.

Longo cannot independently verify Mr. Hess’s conclusions because Dr. Longo says


                                         11
Case 3:16-md-02738-MAS-RLS         Document 32683      Filed 06/03/24   Page 15 of 22
                                   PageID: 185266



he needs to be at the microscope to preform that verification, which he did not do.

And there is no longer any opportunity for Dr. Longo to make his own observations

because the slides have long since degraded and been discarded.

      Mr. Hess is also making some of the smaller but still important decisions. For

example, he is responsible for selecting the images that make it into the report. Ex.

W, Longo Alexander-Jones Dep. 134:24-135:1. And Mr. Hess is the one controlling

the illumination through a small wheel on the microscope. See Ex. A, Longo Clark

Hr’g 90:14-15. It appears as if Mr. Hess is not using enough light intensity, which

would distort the color the particles appear and therefore distort the entire analysis.

Ex. AC, Su Rpt. at 3, Exhibit C to the Su Report at 2-5.

      The PSC’s argument that the subpoena is “unduly burdensome, oppressive,

and harassing” (Mot. 9) is simply a rehash of its argument that the subpoena is

“neither relevant to this MDL nor proportional to the needs of the case” (Id.). The

PSC did not offer any explanation or evidence that a single deposition would be

burdensome, and that argument should be rejected for all the same reasons discussed

above.

II.   Rule 26(b)(4)(D) Is No Bar To A Deposition Of Mr. Hess.

      Rule 26(b)(4)(D)’s “exceptional circumstances” standard does not apply to a

deposition of Mr. Hess. Infra § A. And even if that standard did apply, it would be

satisfied here. Infra § B.



                                          12
Case 3:16-md-02738-MAS-RLS          Document 32683      Filed 06/03/24    Page 16 of 22
                                    PageID: 185267



      A.     The “Exceptional Circumstances” Standard Does Not Apply.

      “Exceptional circumstances” under Rule 26(b)(4)(D)(ii) are not required for

a deposition of Mr. Hess. That rule does not apply to “testimony regarding work that

went directly into the testifying expert’s report.” TCL Commc’ns Tech. Holdings

Ltd. v. Telefonaktenbologet LM Ericsson, 2016 WL 6662727, at *5 (C.D. Cal. July

7, 2016). “When a non-testifying expert’s work forms the substance of a report of

the testifying expert, that non-testifying expert may be subjected to deposition as an

appropriate means of testing the reliability of the report.” Id. at *4.

      In TCL Communications, the defendant sought to depose analysts concerning

their methodology and the accuracy of their analyses relating to cell-phone

standards, which supported portions of the testifying experts’ reports. Id. at *4-5.

The court held that imposing the exceptional circumstances requirement would not

be appropriate: “[T]here is a distinction between requesting deposition testimony

from non-testifying experts for work they did that implicates Federal Rule of Civil

Procedure 26(b)(4)(D) and testimony that would not implicate Rule 26(b)(4)(D).”

Id. at *5 (internal citation omitted). “The testimony that would not implicate

26(b)(4)(D) is the testimony regarding work that went directly into the testifying

expert’s report”—just like Mr. Hess’ work here. Id.

      Numerous other courts have permitted depositions of a testifying’s expert’s

assistant. Derrickson v. Circuit City Stores is an employment discrimination case.



                                           13
Case 3:16-md-02738-MAS-RLS          Document 32683        Filed 06/03/24   Page 17 of 22
                                    PageID: 185268



The employee’s testifying expert based his opinions on the employer’s data

contained in tables prepared by the testifying expert’s assistant. Derrickson v. Cir.

City Stores, Inc., 1999 WL 1456538, at *7 (D. Md. Mar. 19, 1999). The tables did

not contain raw data, but rather interpretive data that—similar to Mr. Hess’s work—

had been “subjected to various selection, aggregation and weighting processes” done

by the testifying expert’s assistant. Id. Derrickson found that the testifying expert

and the non-testifying assistant had “worked hand-in-glove, and the fruits of their

labor [we]re indivisible”—as with Dr. Longo and Mr. Hess. Id. Concluding that the

employer couldn’t adequately cross-examine the testifying expert without knowing

“how [the] assistant manipulated the data,” the court held that the assistant under

these circumstances did not fall under Rule 26(b)(4)(D)5 for “work of a so-called

‘non-testifying’ expert.”6 Id. The employer was “entitled to know what [the]

assistant did” and was permitted to depose the assistant. Id. at *7-8.

        Other federal cases similarly support a deposition here without the need to

find “exceptional circumstances” where Mr. Hess’ work as an expert involved

independent specialization and scientific judgment that is inseparably entwined with

Longo’s analyses without the need to analyze. See, e.g., Herman v. Marine Midland



5
    At the time, the provision was in Rule 26(b)(4)(B).
6
 As discussed below, the Court also held, in the alternative, that the result would
be the same even if Rule 26(b)(4)(D) applied.

                                           14
Case 3:16-md-02738-MAS-RLS         Document 32683      Filed 06/03/24   Page 18 of 22
                                   PageID: 185269



Bank, 207 F.R.D 26, 30-32 (W.D.N.Y. 2002) (rejecting application of Rule 26(b)(4)

and ordering deposition of non-testifying assisting expert due to his “substantial

collaborative work” and “substantial assistance to [the testifying expert] in preparing

the expert report,” which the employing party relied on in litigation); Dura

Automotive Sys. Of Indiana, Inc. v. CTS Corp., 285 F. 3d 609, 612-13 (7th Cir. 2002)

(“The opposing party can depose [expert’s assistants] in order to make sure they

performed their tasks competently.”); Ex. AD, Oracle Am., Inc., v. Google, Inc., No.

10-cv-3561, ECF No. 1717 (N.D. Cal. Apr. 22, 2016) (ordering deposition of

testifying expert’s assistant in response to motion to exclude testifying expert).7

      The three cases the PSC includes in a single string cite do not apply here. See

Mot. 8. In Kaisha, the court precluded depositions of an expert’s assistants because

they performed merely “ministerial tasks” Kaisha v. Lotte Int’l Am. Corp., 2019 WL

13258468, at *3 (D.N.J. Jan. 23, 2019). In Vopak, the party seeking the deposition

could not, among other things, identify the “specific deficiencies in [the testifying

expert’s] report or knowledge.” Vopak N. Am. Inc., 2018 WL 10561115, at *1 (C.D.

Cal. Sept. 14, 2018). Lowery did not even involve a deposition request. Lowery v.




7
 See also Ex. AE, Oracle Am., Inc., v. Google, Inc., Motion to Exclude Testimony
From Dr. Kemerer, ECF 1557 (March 23, 2016) (arguing that the testifying expert
was “spoon-fed the facts, data, and substantive analyses that serve as the basis for
his” opinions).

                                          15
Case 3:16-md-02738-MAS-RLS       Document 32683     Filed 06/03/24   Page 19 of 22
                                 PageID: 185270



Cir. City Stores, Inc., 158 F.3d 742, 765 (4th Cir. 1998), cert. granted, judgment

vacated, 527 U.S. 1031 (1999).

      Those cases are nothing like the situation here. As discussed above, Mr.

Hess’s work went directly into Dr. Longo’s reports and forms the substance of the

work in the reports. In fact, Mr. Hess’s PLM worksheets are literally a part of Dr.

Longo’s reports. And critically, Dr. Longo could not himself independently verify

the work of Mr. Hess based on the information and images provided in the report.

      Defendants need not show “exceptional circumstances,” and a deposition of

Mr. Hess is warranted.

      B.    Even If The “Exceptional Circumstances” Standard Applied, It
            Would Be Met Here.

      Even if this Court were to conclude that Rule 26(b)(4)(D)’s exceptional

circumstances were applicable, a deposition of Mr. Hess meets that standard. Rule

24(b)(4)(D) expressly permits discovery where “it is impracticable for the party to

obtain facts or opinions on the same subject by other means.” “[T]he Rule is not an

impenetrable fortress against discovery.” Hartford Fire Ins. Co. v. Pure Air on the

Lake Ltd. P’ship, 154 F.R.D. 202, 207 (N.D. Ind. 1993).

      In Derrickson, the court concluded that “[e]ven if the court considered Dr.

Medoff’s assistant to be a non-testifying expert, the result would be the same.”

Derrickson, 1999 WL 1456538, at *8. The Court explained that since the

information at issue was “exclusively within the assistant's cognizance, Defendant


                                        16
Case 3:16-md-02738-MAS-RLS         Document 32683      Filed 06/03/24   Page 20 of 22
                                   PageID: 185271



[wa]s entitled to it under Rule 26(b)(4).” Id. Mr. Hess here similarly is the only one

who looked at the particles under the necessary conditions live under the

microscope.

      Additionally, a “common” situation where the rule is satisfied occurs “where

the object or condition observed by the non-testifying expert is no longer observable

by an expert of the party seeking discovery.” Bank Brussels Lambert v. Chase

Manhattan Bank, N.A., 175 F.R.D. 34, 44 (S.D.N.Y. 1997) (internal quotation marks

omitted); see also Hartford Fire Ins. Co, 154 F.R.D at 208 (collecting cases). “This

situation has been demonstrated where some physical condition has deteriorated

enough so that one party’s expert may be the only expert who actually could have

fairly observed it before its deterioration.” Bank Brussels Lambert, 175 F.R.D. 34 at

44.

      Here, the slides Mr. Hess analyzed degraded quickly and have been discarded.

Ex. L, Longo Streck Dep. 53:4-13. The images of the particles provided in MAS’s

report do not provide the necessary information regarding what Mr. Hess observed.

According to Dr. Longo’s own testimony, one would need to be looking down the

microscope at the particles in order to fully understand the basis for the opinions in

this case. Accordingly, even if Rule 26(b)(4)(D) were to apply, this situation presents

exceptional circumstances permitting discovery.




                                          17
Case 3:16-md-02738-MAS-RLS           Document 32683     Filed 06/03/24   Page 21 of 22
                                     PageID: 185272



III.     The PSC’s Privilege Objections Are Moot.
         The PSC’s privilege objections are directed solely at Defendants’ document

requests, not the deposition request. Defendants stand by their view that the

documents would provide illuminating and relevant information. But in order to

narrow the dispute and limit the issues this Court needs to decide, Defendants will

limit their requests to those of greatest significance to the key methodological issues:

the request for an inspection of MAS and the request for a deposition of Mr. Hess.

Defendants therefore withdraw their document requests in the subpoena. 8

         Since Defendants are no longer pursuing the document requests through the

subpoena, the PSC’s privilege objections are moot. If this Court orders a deposition,

any privilege objections can be raised on a question-by-question basis. Defendants

note however that the PSC cites authorities stating that “[p]rotected

‘communications’ include those between the party’s attorney and assistants of the

expert witness,” which is not at issue. See Mot. 10 (emphasis added). No privilege

log was ever provided. Additionally, Dr. Longo has already testified regarding some

communications between himself and Mr. Hess, potentially waiving any privilege

that might have ever applied. See Ex. Y, Longo Powers Dep. 75:24-76:3.




8
    Defendants reserve the right to request these documents at a later date.

                                           18
Case 3:16-md-02738-MAS-RLS      Document 32683    Filed 06/03/24   Page 22 of 22
                                PageID: 185273



                               CONCLUSION

      This Court should deny the PSC’s motion to quash and order a deposition of

Paul Hess.



Dated: June 3, 2024                     Respectfully submitted,

                                        /s/ Kristen R. Fournier
                                        Kristen R. Fournier

                                        KING & SPALDING LLP
                                        1185 Avenue of the Americas
                                        34th Floor
                                        New York, NY 10036
                                        (212) 556-2100
                                        kfournier@kslaw.com

                                        Susan M. Sharko
                                        FAEGRE DRINKER BIDDLE &
                                        REATH LLP
                                        600 Campus Drive
                                        Florham Park, NJ 07932
                                        susan.sharko@faegredrinker.com

                                        Attorneys for Defendants Johnson &
                                        Johnson and LLT Management, LLC




                                      19
